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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-02291-PAB-SKC

NORMA ANDERSON, MICHELLE PRIOLA, CLAUDINE CMARADA, KRISTA KAFER,
KATHI WRIGHT, and CHRISTOPHER CASTILIAN,

       Petitioners,

v.

JENA GRISWOLD, in her official capacity as Colorado Secretary of State, and
DONALD J. TRUMP

       Respondents.


                                ENTRY OF APPEARANCE


To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for:

NORMA ANDERSON, MICHELLE PRIOLA, CLAUDINE CMARADA, KRISTA KAFER,

KATHI WRIGHT, and CHRISTOPHER CASTILIAN.


       DATED September 7, 2023

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